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U.S. COUFlTS
Shalynn F. Paddock
Pm_$e JAN 04 2018
212 N. 2"d St. E. Hcva Filed Tlme
Homedale, lD 83628 STEPHEN W. KENYON
(208) 230-1384 CLEFlK. DlSTRlCT OF lDAHO

 

UNITED STATES DlSTRlCT COURT FOR THE DlSTRlCT OF lDAHO

 

Shalynn F. Paddock, M.B. And A.P.
Pro-Se

vs.
Andrew Ballou`

Briana Dixon cASE No_ ] \6 _ (/\/ ` 0 0 OS_ CWD §

County of Canyon, a public entity
ldaho Department of Hea|th and Welfare CPS
RAYCHELLE MlNDEN, in her individual capacity,
MlRANDA SQUIBB, in her individual capacity,
JASMINE OLMEDO, in her individual capacity,
ARACEL| LUNA, in her individual capacity
Caldwe|l Police Departn_\ent
Officer T. Edwards, in his individual capacity
Officer Defur, in his individual capacity
K|DS Services lnc. of Caldwell, Canyon County, lD
John and Jane Does 1-50
COMPLA|NT FOR DAMAGES
JURlSDlCTlON
1. Shalynn F. Paddock bring this civil rights lawsuit pursuant to 42 U.S.C. Section
1983 to redress the deprivation of rights by Defendants, at all times herein acting under color of
state law, of rights secured to P|aintiff Shalynn F. Paddock under the United States Constitution,
including the Fourthl Thirteenth, and Fourteenth Amendmentl and under federal and state law.
2. Jurisdiction is conferred on this court by 28 U.S.C. Sections 1343(a)(3) and
1343(a)(4), which provide for original jurisdiction in this court of all suits brought pursuant to 42
U.S.C. Section 1983. Jurisdiction is also conferred by 28 U.S.C. Section 1331 because claims for
relief derive from the United States Constitution and the laws of the United States. This court has
supplemental jurisdiction over those claims of Plaintiff based on state laws, pursuant to 28 U.S.C.

Section 1367.

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PARTlES

3. At all times relevant to this Complaint, Plaintiff Paddock was a resident of
COUNTY OF CANYON, ldaho. Plaintiff Shalynn F. Paddock is the mother of minor P|aintif'f, M.B.
(A fictitious name is used herein to protect the minor's privacy). At the time the incidents giving
rise to the causes of this action in this complaint occurred, M.B. Was four (4) years old.

4. At all times applicable herein the COUNTY OF CANYON was and is a public
entity (“County"or “County of Canyon”).

5. At all times applicable herein the CANYON COUNTY SHERIFFS

DEPARTMENT was and is a subdivision, entity, or administrative arm of the COUNTY OF

CANYON.
6. At all times applicable herein the CALDWELL POL|CE DEPARTMENT was

and is a subdivision, entity, or administrative arm of the COUNTY OF CANYON.

7. lott all times applicable herein, CPS worker RAYCHELLE MlNDEN (hereafter
CPS refers to Child Protection Services) was/is an individual residing, on information and belief,
in the County of Canyon and an ofEcer, agent, or employee of the State of |daho.

8. At all times applicable herein, CPS worker MlRANDA SQU|BB was/is
and individual residing, on information and belief, in the County of Canyon and an officer, agent,
or employee of the State of |daho.

9. At all times applicable herein, JASMINE OLMEDO was/is an individual
residing, on information and belief, in the County of Canyon and an officer, agent, or employee of
the State of ldaho.

10. At all times applicable herein, ARACELl LUNA was/is an individual
residingl on information and belief, in the County of Canyon and an officer, agent, or employee of
the State of |daho.

11. At all times applicable herein, Ofticer T. Edwards was/is an individual

residing, on information and belief, in the County of Canyon and an officer, agent, or employee of

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Caldwell Police Department in the County of Canyon.

12. At all times applicable herein, Ofncer Defur was/is an individual residing,
on information and belief, in the County of Canyon and an ofticer, agent, or employee of the
Caldwell Police Department in County of Canyon.

13. At all times applicable herein, KlDS Services (Kids ln Divorce Support
Services |nc.) was/is a corporation doing business in the County of Canyon.

14. At all times applicable herein, Andrew Ballou is an individual who was/is
residing, on information and belief, in the County of Canyon.

15. At all times applicable herein, Briana Dixon is an individual who is/was
residing, on information and belief, in the County of Canyon.

16. Hereinafter, when referred to collective|y, the Defendants in paragraphs 7
through 10, inclusive, will be referred to as CPS workers.

17. Defendants DOES 1 through 50 are sued as Hctitious names, their true
names and capacities being unknown to Plaintiff Paddock. When ascertained, Plaintiff Paddock
will amend this Complaint by inserting their true names and capacities. Plaintiff Paddock is
informed and believes and thereon alleges that each of the fictitiously named Defendants is
responsible in some manner for the occurrences herein alleged, and those Defendants
proximately caused, are responsible for and/or legally liable for Plaintiff Paddock's damages as
herein alleged. Each reference in this Complaint against all Defendants, including DOES 1
through 50.

18. Wherever in this Complaint reference is made to any act of Defendants, such
allegations shall be deemed to mean all named Defendants and DOES 1 through 50, or their
officers, agents, managers, representatives, employees, heirs, assignees, customers, tenantsl
did or authorized such acts while actively engaged in the operation, management, direction or
control of the affairs of Defendants and while acting within the course and scope of their duties,

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except as specifically alleged to the contrary.

19. At all times herein mentioned and with respect to the specific matters alleged
in this Complaint, Plaintiff Paddock is informed and believes that each Defendant (inc|uding
DOES 1 through 50) was a parent, subsidiary, afmiate, alter ego, paitner, agent, franchiser,
controlling licensor, controlling franchiserl principle, and/orjoint venture of each of the remaining
Defendants, and was at all times acting within the course and scope of such agency, servicel
employment, control and/or joint venture, and each Defendant has ratified, approved, conspired
in, profited from and/or authorized the acts of each of the remaining Defendants and/or failed to
prevent such acts when having the power and/or duty to do so, with the full knowledge of said
acts.

COMMON ALLEGAT|ONS

20. Plaintiff Paddock is informed and believes and thereon alleges that on
10/04/2017 Defendant Michelle Minden came to Plaintist home. Minden was allowed to inspect
Plaintiff`s home. Minden found no concerns and told Plaintiff Paddock that she would close the
report. Between 10/04/2017 and 11/17/2017 police officers came to Plaintifl’s home on a daily
basis, sometimes twice a day, either alone or in pairs to do a “well child check”. Each time
Plaintiff Paddock allowed the police to inspect her home. The police stated that Plaintiff had to let
them in because it was a well child or welfare check. The basis for every complaint against
Plaintiff Paddock was was that M.B. Was not getting fed, that M.B. Had bruises on him from being
hit by Plaintiff Paddock, that there were bedbugs, that there were drugs in the home including
pipes and paraphemalia, that Paddock was drinking alcohol while breastfeeding (when Paddock
Wasn't breastfeeding at all) and that M.B. Was always locked in his room. No evidence of abuse
of any kind was ever found by the police. Paddock collected cards for these officers but these
cards were stolen from her residence when she was forced to flee.

21. On 11/14/2017 at around 1_:45 p.m. Plaintiff Paddock went to Ontario Oregon

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with her aunt, Kim Paddock, to buy Plaintiff a car. At 2:24 p.m. A text was sent by Andrew
Ballou's grandmother, Susan Chapman-Smith while Plaintiff was signing the title for her new car.
See Exhibit A. Chapman-Smith wanted to take M.B. To Oregon to stay with her. Paddock told her
no. At 2:37 p.m. Rebecca Sabin-Fleetwood, M.B.'s grandmother, messaged Paddock on
Facebook wanting to take M.B. Paddock informed her that she did not have permission to take
M.B. Or to be at her home. M.B. Was with Bobby Raw|in and Mary Kuykendall at the time. (This
is proof that Paddock wasn't home on the 14'h at 2100 p.m. As was stated in the protection order
filed by Andrew Ballou against Plaintiff Paddock nor was M.B. ). Paddock's home was broken into
while she was gone that day. Her son, M.B.'s room was messed up and staged for photographs
and items were stolen from the home. Mary Kuykendall left a message on Facebook to Bobby
Raw|in and stated on 11/18/2017: “And you do know that his (Andrew's) parents (Rebecca and
Josh Fleetwood) went into the house when nobody was there and took pictures of everything so
maybe that's how he (Andrew) found out (what to put in the protection order.) See Exhibit B.
Bobby fonlvarded this message to Paddock.

21 .(A) Oflicer Defur took the initial report of the break in and theft of Paddock's
home. Paddock later spoke to Defur's supervisor and found out that Defur lied to his supervisor
concerning this report and it was dismissed. This was case no. 17~30737. Another case regarding
the matter was opened by Defur's supervisor, case no. 17-31084 under officer J. Watkins. That
case was dismissed because Mary Kuykendall told the officer Watkins that she would not release
information to him. Mary Kuykendall also admitted to Paddock that she got a message from
Brianna Dixon admitting to breaking into Paddock's home but the message was deleted by her
husband Alan Kuykendall, (Plaintiffs employer) on 11/18/2017. Paddock notes that the report no.
17-30444, ( Exhibit C, 2 pages) injury to a child report states "Andrew stated that he had photos
and several videos of____talking with Mary about_____getting locked into a room and not
being allowed to go to the bathroom to urinate. l watched the videos when l met with Andrew,

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however l have not yet received the videos or photos to submit into evidence. Andrew stated that
he intends to file a protection order against Shalynn on 11/17/2017 and had a meeting with an
attorney on 11/16/2017."

22.0n 11/17/2017 Defendant Araceli Luna came to Plaintiff Paddock's home for
all of the complaints stated in 22. Luna interviewed Paddock, made sure that Paddock had food
and formula in the home, checked M.B. For bruises and malnutrition, checked M.B.'s room for
bedbugs and general safety, checked Plaintiff Paddock's baby A.P. For general well being. Luna
stated that she found nothing wrong and would close the case.

23. Plaintiff Paddock drove to Boise after Defendant Luna left. After arriving in
Boise, Plaintiff received a call from her room mate Bobby Raw|in that an officer Defur was there
to take M.B. Bobby stated that she didn't want to give M.B. To Officer Defur but that Defur
threatened her with arrest if she did not. Paddock stated that she wanted to speak to Officer
Defur but he told Bobby that he did not have to. ( Bobby Raw|in put her phone on speaker as per
Defur) Paddock stated that he did have to state why he was taking M.B. And that he (Defur) as
per probable cause. Officer Defur stated that he had an order in front of him. Paddock asked what
kind of order and the reason for the order? Defur refused to give Plaintiff that information except
to sat that it was the other parent, (which is Andrew Ballou). Paddock informed Defur that Andrew
Bal|ou had filed two falsified protection orders before but Defur didn't care. (those falsiHed
protection orders are part of a prior court case concerning M.B.). Defur allowed Bobby to take
pictures of the protection order with her cel phone to send to Paddock. See exhibit D. The order
was written in someone's handwriting that was not Andrew Bal|ou but it was Defendant Ballou
who signed it. The order was the original order and not a copy. ( Exhibit E-photo & copy of order)
Apparently the authorities were in such a hurry to kidnap M.B. That a copy of the order was not
made. Standing outside of Paddock's home with Officer Defur were Andrew Ballou and
Defendant Briana Dixon. Officer Defur handed the order directly to Briana Dixon and not Andrew

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Ballou according to Bobby Raw|in.

24. The first hearing for Plaintiff Paddock was an evidenciary hearing on
11/28/2017 at 1130 pm before Defendant Judge Jayne B. Sullivan concerning the falsified
protection order filed by Andrew Ballou. Judge Sullivan refused to hear any evidence however.
With no evidence allowed Judge Sullivan stated that she was bound under a statue to make sure
that the child was not in harms way. Paddock's attorney, Shawn Miller, stated to Judge Sullivan
that there was no evidence to support that statute. Judge Sullivan also ordered yet another
investigation She stated that the other three investigations from Health and Welfare CPS could
be submitted by Paddock's council but would make no difference to her. Nleanwhile the three
investigations that Paddock was told would be closed are still not being released by CPS
workers.

25. Paddock contacted CPS workers on multiple occasions to find out why these
closed cases have not been filed? Paddock was told that they were being held up by Defendant
Sqibb (as was stated by Defendant Rachelle Minden) and that Paddock needed Squibb's
approval to release them. Minden stated that she completed the first investigation on 12/13/2017.
Minden also stated that each complaint must be closed before the other complaints can be
closed. |n other words, the first one must be closed before the second one is, and the second one
must be closed before the third one is. Then all three complaints must have final approval by
Squibb before Paddock can request copies of the reports. The first investigation was done on
10/04/2017 an`d was closed on 12/13/2017. According to idaho law these reports are to be filed
within 30 days. And thus a web of deceit and trickery enslaves Paddock as yet another
investigation had been ordered by Judge Sullivan. The Defendants CPS workers play a game of
divide and conquer with the intent of keeping Paddock from her child and by costing Paddock so
much money in attorney's fees that she can never win and will go broke_

26. Even though Judge Sullivan signed an order stating that Hea|th and Welfare

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was to set up the visits with Paddock's son, Defendant Squibb denied Paddock visits with M.B.
Through Hea|th and Welfare because M.B. wasn't a foster child, thus denying the judge's order.
Paddock was forced to visit her son at KlDS Services which costs $50.00 an hour, a $40.00
deposit for a “late fee”and a $60.00 application and intake fee. Once again the Defendants play
“break the bank”. Paddock was given no choice by KlDS Services about when and how long
visitations would be. Paddock was told that she would be allowed to visit every Friday for two
hours which is $100.00 per visit. Paddock points out that KlDS Services stands for Kids ln
Divorce Settlement and is a private corporation.

27.An injury to a child charges against Plaintiff Paddock was filed on 12/06/2017
and served on 12/17/2017, just two days prior to Paddock's second evidenciary hearing in an
effort to tie Paddock up in one court proceeding after another and to keep M.B. From his mother.
The charges filed were allegations of the child not being fed on 11/13/2017 and had his first meal
on 11/14/2017. See Exhibit F According to texts from Paddock on 11/13/2017 to a friend, she had
ordered a pizza from Pizza Hut and had it delivered. lt was a stuffed crust pepperoni pizza.
Present in Paddock's home were Bobbie Rawlin, Bobbie's daughter |.R., M.B. And Paddock's
daughter A.P. Take note that Defendant Ba||ou stated in his protection order that the abuse
occurred on 11/14/2017 and yet the police report states that it happened on 11/13/2017 at
"unknown time." There is no report of the police going to Paddock's home on 11/13/2017
however. The report was Hled 11/15/2017. The report was also filed by Officer C. “Chittenden”
whose badge number is 123 but it was Ofncer T. Edwards whose name is on the summons. Most
of the information on the attached police report is also whited out. This report states at the bottom
that it was assigned to Hea|th and Welfare and to detectives and yet there is no report attached.

28. The court ordered investigation by Defendant Sullivan was never sent to CPS
workers, thus dragging court out until 1/26/2018.

29. On 12/08/2017 Sergeant Scott Crupper came to Plaintiff's home for a

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complaint about soda in the baby's bottle. Plaintiff explained to the officer that it was prune juice
and water in the bottle. lt turns out that Plaintist room mate, Bobby Raw|in was the one who
called in this complaint Sergeant Crupper stated that there were no concems.

30. On 12/09/2017 Defendant Jasmine Olmedo arrived at Plaintiff Paddock's
home with and ”assistant" , Ofncer T. Edwards, and one female officer, Officer Jensen (verify).
Paddock opened her door and when she tried to close it the Defendants pushed the door open
and came towards Plaintiff's baby with no permission to do so. Paddock informed them that she
was going to be late for work and that the Defendants needed to come back at another time.
Defendant's concerns on that day were rashes on baby A.P. And soda pop in the baby's bottle.
Plaintiff, upon hearing about the same complaint about soda being in the bottle, informed Officer
T. Edwards that Sergeant Crupper had been at her residence the day before for the same
complaint and found nothing wrong. Officer T. Edward stated that he found no such report on file.
The Defendants proceeded to force Plaintiff to strip her baby daughter A.P. naked and Officer
Jensen inspected her with a flashlight between the baby's legs for “rashes”. The Defendants
proceeded to toss Plaintiff's home, including mattresses, searching for “bedbugs” and found
none. The Defendants searched Bobby Raw|ins room also over the objections of Paddock.
Plaintiff wanted to know if they wanted her to call l.R. (Bobby Raw|in's daughter) to come home
from her father's house to be inspected too? l.R.'s father lives close by. The Defendants said no.
Paddock asked the Ochers if they were there because of the court ordered investigation by
Judge Sullivan? The Defendants said they knew of no such order, even though it was to be
issued on 11/19/2017. The Defendants stated that they would be coming back.

31. Plaintiff Paddock was now in fear of having her three month old daughter i
illegally kidnapped as well and tied her home on 12/09/2017, never to return to live there. Upon
her returning to collect some of her things, Paddock found that her appliances were stolen, a
blunt object was used to destroy her T.V., baby items and many other items were stolen, the

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bathroom faucet was stolen, and someone left excrement in her toilet.

32. According to Bobby Rawlin, the authorities came by Plaintiffs home four
times in one day on 12/13/2017. These authorities called Bobby Rawlin, who wasn't home, and
notified her of this. These authorities were angry that Bobby wasn't home.

33. On 12/16/2017 Plaintiff Paddock had her first visitation with her son M.B. At
KlDS Services in Caldwell, lD. “Rick" from KlDS was present during this visit. V\hthout any
prompting M.B. Stated the following. a.) That Briana Dixon told him that his mother didn't love
him. b.) M.B. Was angry that Brianna told him that he is a bad kid and she tells him this every
day. c.) Brianna said that he would never go home again because his mother is an awful person
who did bad things. d.) M.B. Thinks that the only way he can come home is if Paddock and
Briana get along. e.) M.B. Said that he loves and misses his mother over and over. He is
convinced that his mother doesn't want him. M.B. Refused to leave with Andrew Ballou after the
visit. M.B. Took his coat and shoes back off and stated that he didn't want to go. Rick made
Paddock lie to her son and say that she would see him the next day in order to get M.B. To leave.
(See Exhibit F-reports from KlDS Services). Paddock is not surprised that the techniques used by
Briana Dixon are used by others in case after case of abuse committed by Hea|th and Welfare in
order to break up families and distance children from their parents. Briana Dixon somehow
knows these techniques better than any normal person would.

34. Following this visitation at KlDS Services “Rick" said that he would fonrvard
his report to the court.

35. Plaintiff Paddock called KlDS Services and sent an email to find out when
she could see her son again. Nobody returned her calls. Paddock received an email from KlDS
Services from “Chris" stating that he would be out of the ofEce through the end of the year. (See
Exhibit G). Apparent|y there was a visitation on 12/22/2017 that neither Paddock nor Andrew
knew about. Andrew, in a recorded cal|, stated that he got a call while he was at Taco Bell from

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KlDS Services saying that there was a visitation scheduled. Andrew hurried over there and was
late. Paddock never knew about it so didn't show up.

36. On 12/19/2017 Plaintiff went to court concerning the falsified protection order
in front of Judge Orr. Judge Orr stated that Judge Sullivan's notes said that it was up to
Paddock's attorney, Shawn Miller, to get the Hea|th and Welfare investigation finished (yes, the
one against his own client) even though it was orderedby Judge Sullivan at the prior hearing.
Attorney Shawn Miller stated that Judge Orr was violating his clients rights by continuing these
proceedings with yet again no evidence being heard and that his client has already been 45 days
without her son based on hearsay evidence alone. Judge Orr ordered yet another investigation

37. On 12/29/2017 Plaintiff Paddock went to KlDS Services for the visit with her
son M.B. M.B. Would eat for a few minutes then would get upset and lay his face on his arms on
the table. M.B. Knew about his mother not living at their home in Caldwell anymore. Paddock
went into the office to pay Rick the $100.00 for the visit. Rick stated that since Paddock didn't
make the last visit she now owed $40.00 more. Rick was not going to charge Andrew $40.00 for
being |ate, however, claiming that Andrew was on time. Paddock stated that she had a recording
that proved that Andrew was late. Rick got furlous and yelled at Paddock that "Andrew is a liar!”.
Rick also stated that Andrew waited at KlDS Services until 15 minutes after the time of the
visitation when Andrew, on the recorded call, stated that the visit was canceled. “We didn't know
until ten minutes aftei"' stated Andrew Ballou on a recorded call on 12/25/2017. The second report
in Exhibit F states that M.B. Accused his mother of hitting him with a spatula. “Rick" lied in the
second report about Paddock being the one who hit M.B. with a spatula. Paddock has a recording
of a phone call with M.B. That states that it was someone else that hit him with a spatula.

38. Plaintiff Paddock notes that her last contact with Andrew Ballou was on
Facebook on 10/22/2017. Paddock would also note that according to her text messages the last
time that Andrew Ballou visited M.B. Was on 09/29/2017. Andrew paid no attention to M.B. And

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instead was on his phone with Briana Dixon, texting her and was on Paddock's porch smoking
cigarettes while M.B. Was inside playing With l.R. Bal|ou stayed for about 5 minutes. Briana
Dixon then came to Paddock's house to pick up Ballou. On 11/04/2017 Bal|ou had an arranged
visit with M.B. At noon that he never showed up for. Bal|ou apparently went to McCal|, idaho
instead. v

39. Plaintiff Paddock also notes that Andrew Ballou has an extensive criminal
record and multiple felonies including breaking and entering. Defendant Ballou was in prison for
three of the four years of M.B.'s life and was never interested in this child during that time.
Andrew Ballou has been aware that M.B. Was never his biological chi|d, iri fact, since he met
Plaintiff Paddock when she was already four months pregnant

40. Plaintiff Paddock also notes that Defendant Briana Dixon dated Defendant
Andrew Ballou's uncle prior to dating Andrew. Dixon and Andrew Ballou live together in a home
that she claims to own. Paddock finds it odd that Briana Dixon has admitted to being in several
accidents that she caused, one in which she totaled her car, and also has a speeding ticket and
yet has no record in the idaho Repository.

41. Plaintiff Paddock owned the home that she has now been forced to abandon
along with the contents. Paddock had a job and was supporting her family and had to quit iri order
to leave the County of Canyon. Paddock has no criminal record. The actual damages may be the
loss of her home and everything that she left in it but the emotional cost to her and her two
children is difficult to calculate.

42. The efforts of the state and the Defendants to kidnap both of Plaintiff
Paddock's children amounts to: bias and discrimination, kidnapping, attempted kidnapping, gross
misconductl gross negligence, extortion, collusion, fraud, defamation, slander, and submitting
false evidence with the intent of kidnapping among others.

43. Plaintiff Paddock reserves the right to file federal action against Judge Jayme

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Sullivan and Judge Debora Orr concerning the civil rights violations as stated in this action.

FlRST CLAIM FOR REL|EF
FOR VlOLATlON OF FEDERAL ClVlL RIGHTS (42 U.C.S. 1983)

COUNT 1

Violation of Familial Association by Brian Dixon And KlDS Services: Violation of Privacy,
Warrantless Search Regarding the Examination of a Child at Plaintiff's Home by CPS
Workers, Officers, and DOES 1 Through 50, lnclusive. Plaintiff alleges that the right to
familial association is guaranteed under, without limitation, the First, Fourth, and
Fourteenth Amendments.

COUNT 2

Violation of Sixth Amendment Right To Not Be Subjected To Heresay Evidence Regarding
The Fi|ing Of False Protection Order and False Allegations Of Child Abuse Which ls
Slander: By Plaintiff Against Defendant Andrew Ballou.

COUNT 3

Violation of the 13"' Amendment Against Slavery Or involuntary Servitude: Regarding CPS
Workers, And KlDS Services.

44. Plaintiff reallege, and incorporate herein as lf set forth in ful|, all of the
- proceeding paragraphs

45. Plaintiff Shalynn Paddock is an individual and citizen of the United States,
protected by 42 U.S.C. 1983.

46. Plaintiff is informed and believe and thereon allege that the right to familial
association guaranteed under, without limitationl the First, Fourth and Fourteenth Amendments
is “c|early established” such that a reasonable CPS worker, Officer, Judge, KlDS Services
employee, state actor, or any other Defendant would know it is unlawful to question, threaten,
examine, or search a child in the absence of exigent circumstances without obtaining judicial
authorization or parental consent

47.Defendants, and each of them, hadl at all times relevant herein, an affirmative
duty and obligation to recognize and conduct themselves in a manner that confirms provides for,
and does not violate the protections guaranteed Plaintiff Paddock under the United States

Constitution, including those under the First, Fourth, Sixth, Thirteenth and Fourteenth

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Amendmentl to include without limitation, the protection of parental rightsl the right to privacy,
family integrity, and the right to familial relations

48. Allegations for 22: Harassment, intimidation, collusion, attempted kidnappingl
emotional distress and violation of due process by Defendants Andrew Ballou, and officers who
came daily to Plaintiff's home (DOES 1 through 50) for “well child checks" that were based on
heresay from which no evidence to support the claims was found.

49. Allegations for 23: Proof of false allegations on the protection order filed by
Defendant Andrew Bal|ou constitutes attempted kidnapping, harassment, and submitting false
evidence which slanders Plaintiff Paddock. The staging of the scene of a “crime” by Rebecca and
Josh Fleetwood and possibly Briana Dixon, with the purpose of assisting in the kidnapping of
M.B. constitutes collusion and a violation of privacy,

50, Allegations for 24: Defendant Defur, under color of law, attempted to cover up
a crime that was committed by other Defendants involved concerning the attempted kidnapping
of M.B. |n an effort to protect the other Defendants which constitutes collusion, accessory to
kidnapping, and a breach of duty. Defur also showed bias and discrimination against Plaintiff
Paddock by making sure that the report of the break in and theft of her home on 11/14/2017 was
dismissed by lying to his supervisor. According to police report 17~30737l Defendant Andrew
Bal|ou came fonrvard with photos and video that were seen by officer “Chittenden”. This is proof
that photos and video were indeed taken at Paddock's house to be used for the kidnapping of
M.B. and that Caldwell Police Department were aware of it. Plaintiff contends that these photos
and video were never admitted as evidence due to her filing the police report of the break-in of
her home on 11/14/2017. Defur, aware that these videos and photographs could no longer be
used against Paddock, attempted to bury the report submitted by Paddock concerning the break
in and theft that happened at her home on 11/14/2017. The police were also made aware of

Ballou's intent on filing a protection order on 11/17/2017 ( a Friday) and that he had a meeting
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with his attorneys on 11/16/2017.

51. Allegations for 261 Defendant Defur, under color of law, committed a violation
of the right to privacy against Paddock and an improper service of notice by allowing Plaintiff`s
room mate, Bobby Raw|ing, to photograph the original protection order. Defur also violated
Plaintiff`s right to have an actual copy of the order at the time of service. Then Defur proceeded to
kidnap M.B. with an order signed by Judge Sullivan. Officer Defur violated breach of duty and the
right to privacy once again by handing the original order to Briana Dixon instead of Andrew
Ballou.

52. Allegations for 27: Judge Sullivanl under color of |aw, violated Paddock's due
process and committed breach of duty by not allowing evidence to _be heard at an evidenciary
hearing With no proof to back the statute that Judge Sullivan claimed to be bound under she
committed collusion and is an accessory to kidnapping M.B. Judge Sullivan ordered an
investigation and did not see to it that it was carried out, instead placing the blame of the
investigation not being carried out on Plaintiff's attorney, Shawn Miller at the next hearing in her
notes that were left with Judge Orr. Attorney Shawn Miller has ordered transcripts of the first

hearing before Judge Sullivan as proof of what Sullivan stated in court.

53, Allegations for 281 CPS workers, under color of law, blatantly violated idaho
law which states that they have 30 days to file their investigations against Plaintiff Paddock. CPS
workers proceeded to unduly extend the time that these cases would be filed with one excuse
after another in order to keep Paddock enslaved to them, the courts and to KlDS Services. The
reports to be submitted by CPS also don't coincide with police reports so CPS will not release
them. CPS workers violated Paddock's parental rights, her due process of law, committed breach
of duty, destroyed family integrity and conspired in the kidnapping of M.B. and attempted
kidnapping of A.P.

54. Allegations 29: CPS workers under color of law, violated Judge Sullivan's
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order and forced Paddock to visit her son through KlDS Services with the knowledge and intent of
costing Paddock yet more money thus committing extortion.

55. Allegations for 30: False charges of injury to a child were filed against
Paddock by the police which constitutes perjury, fraud, violation of due process of law, slander, d
accessory to kidnapping, and a violation of Paddock's parental rights These charges were filed
just prior to her court date concerning the falsified protection order in an effort to extend the time
that she is kept from her son M.B. Furthermore, the date does not coincide with the date that Was
reported by Andrew Ballou concerning the alleged abuse.

56. Allegations for 31: By failing to file for her court ordered investigation, Judge
Sullivan intentionally made certain that Paddock would be kept from her son, M.B. for an
extended period of time. This constitutes conspiracyl collusion, violation of Paddock's parental
rights, accessory to kidnapping, and a breach of duty.

57. Allegations for 33: CPS workers and police, under color of law, forcibly
pushed open Paddock's door when she tried to close it and entered without probable cause or
warrant and conducted an illegal search. CPS workers and police violated Paddock's due
processl invaded her privacy and the privacy of her infant daughter, A.P., When the female officer
forced Paddock to strip A.P. naked and inspected her with a flashlight between the legs in front of
all who were present.

58. Allegations for 351 CPS workers and police, under color of law, attempted to
kidnap Paddock's daughter, A.P. And continued to harass and intimidate Paddock.

59. Allegations for 36: Briana Dixon harassed, intimidated, coerced, and lied to
M.B. ln an attempt to keep the child away from his mother emotionally. Dixon used typical
methods of the system to break the bond between mother and child thus violating Paddock's
parental rights “Rick" of KlDS Services forced Paddock to lie to her son in order to get him to
leave with Andrew Ballou which violated Paddock's parental rights, destroys familial association,

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and constitutes emotional distress to both Paddock and her son, M.B..

60. Allegations for 38 & 40: KlDS Services employees failed to notify Paddock
or Andrew Ballou of a visit that they scheduled on 12/19/2017. Paddock had called and texted to
KlDS Services over the course of the week to find out when her next visitation was KlDS
Services violated Paddock's parental rights and then committed an act of extortion by forcing her
to pay an additional $40.00 for a missed visit. “Rick" at KlDS Services then lied to Paddock about
Ballou being there on time to justify not charging Ballou an additional $40.00 as well. This
constitutes bias and discrimination against Paddock. KlDS Services are guilty of violating
Paddock's parental rights by not communicating with her concerning upcoming visits and have
caused emotional distress to Paddock.

61. Allegations for 39: Judge Orr. under color of law, violated Paddock's rights
by refusing to hear any evidence which is a violation of Paddock's due process Judge Orr willfully
violated Plaintiff's rights iri court even after Paddock's attorney, Shawn Miller, pointed out this fact
to Judge Orr. Judge Orr is guilty of breach of duty, allowing a continuing violation of Paddock's
parental rights and allowing the kidnapping of M.B. to continue.

62. Allegations against all Defendants: Putting M.B. in harm's way by leaving him
with a multiple felon who is violent, Defendant Andrew Ballou, and for leaving M.B. with Briana
Dixon Who lives with Andrew Ballou ( his 'girlfriend') and who is continuously abusing M.B. and
violating his rights and the Plaintiff's rights as well as stated.

63. Allegations against the Department Hea|th and Welfare and Child Protective
Services, specifically, are violations of Plaintiff Paddock' and M.B.'s constitutional rights to be
free from slavery which is a violation of the Thirteenth Amendment of the United States. The
abuse of power by these agencies is heinous and they are allowed to use laws established
purposefully by the State of idaho to deny citizens their civil rights and to destroy, contro|, and
enslave families as in this case. Plaintiff Paddock believes that the State of ldaho, including the

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County of Canyon, use CPS as a hammer to beat certain people into submission and servitude
which meets the criteria of slavery. Plaintiff Paddock has also found that approximately 75% of
the calls into CPS are unfounded or are called in to harass or falsely accuse people such as
Paddock. Paddock is convinced that there is no saving this agency, CPS, from corruption and
abuse of powerl so Paddock demands that it be dissolved. Without the dissolution of CPS
Plaintiffs remain under a continuing threat of reprisal, kidnapping, false allegations being filed,
and further violations of their rights by the “legal” kidnappers at CPS and from the other
Defendants in this action

64. The placement of Plaintiff Paddock's name on the Child Abuse and Neglect
Registry violates her Sixth Amendment right not to be subject to heresay evidence. When a
parent's name is entered in a registry of child abusers, without having had been convicted of the
crime of child abuse, it publicly presents this person as though he/she were a convicted criminal
and has the effect of legally slandering and libeiing his/her character. Having one's name on the
CANR also disqualifies a person from getting certain jobs that involve being with and caring for
children forever which is bias and discrimination Paddock was certified to work in child day cares
and can no longer do so. Paddock demands the removal of her name from the CANR list and
demands the immediate return of her son, M.B.

65. These Defendants acted with malice and with the intent to cause injury to
Plaintiff Paddock and her children, or acted with willful or conscious disregard of the rights of
Plaintiffs in a despicable, vile, and contemptible manner. Plaintiffs are therefore entitled to recover
punitive damages from ali Defendants, and each of them, as permitted by law and as according
to proof at trial, due to the wrongful conduct of the Defendants, as herein alleged, and to deter
them and others from such conduct in the future.

66. As a direct result of these Defendants' misconductl Plaintiffs have suffered
and continues to suffer, general and specific damages according to proof at trial, including but not

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limited to, physical and/or mental anxiety and anguish, among other things Paddock has also
incurred, and will continue to incur cost and expenses including those authorized by 42 U.S.C.
Section 1988, to an extent and in an amount subject to proof at trial.

C_QMA

For Monell-Related Claims by Plaintiff Paddock Against County Of Canyon and DOES 1
Through 50, lnclusive.

67. Plaintiff Paddock reallege, and to the extent applicable, incorporate herein as
if set forth in ful|, each of the foregoing paragraphs

68. Defendant County of Canyon, including through it's governmental agencies
herein, is a "person” with the meaning of 42 U.S.C. 1983 and subject to Moneli liability. Moneli v.
Dept. of Social Services (1978) 436 U.S. 658.

69. Defendant County of Caldwell, including its entities and governmental
agencies including individual Defendants named herein, had a duty to Plaintiff Paddock at all
times to establish, implement and follow policies procedures customs and/or practices
(hereafter referred to as “policy” or “policies") which confirm and provide the protections
guaranteed Plaintiff Paddock under the United States Constitution, including those under the
Firstl Fourth, Sixth, Thirteenth, and Fourteenth Amendments, to includel without limitation, the
protection of the right to familial relations the right to privacy, the right not to be defamed or
stigmatized; the right not to be made a slave or placed into servitude, and the right to procedural
due process Said Defendants also had a duty to use reasonable care to select, assign,
supervise, train, control and review the activities of all of their agents officers and employees
and those acting under them, so as to protect these constitutional rights; and to refrain from
acting with deliberate indifference to the constitutional rights of the Plaintiff in order to avoid
causing the injuries and damages alleged herein Based on the duties charged to County of
Canyonl including the nature of work relating to juvenile dependency proceedings County of

Canyon knew or should have known the obvious need to establish customs policies and
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practices to protect the aforementioned civil rights of parents and their children

70. Defendant County of Canyon, its entities and governmental agencies and
individual Defendants named herein, established and/or followed policies procedures customs
and/or practices which policies were the moving force behind the violation of Plaintiff Paddock's
constitutional rights including those under the First, Fourth, Sixth, Thirteenth and Fourteenth
Amendments by, but limited to: a.) The policy of detaining and/or removing children from their
family and homes without exigent circumstances (imminent danger of serious bodily injury), a
fact-based court order, and/or consent; b.) the policy of removing children from their families
without first obtaining a warrant when no exigency exists; c.) the policy of examining children
without exigency, need, or proper court order, and without the consent of the parent or guardian;
d.) the policy of removing and detaining children, and continuing to detain them for an
unreasonable period after any alleged basis for detention is negated; e.) by acting with deliberate
indifference in implementing a policy of inadequate training and/or supervision, and/or by failing to
train and/or supervise its officers agents employees and state actors in providing the
constitutional protections guaranteed to individuals including those under the First, Fourth, Sixth,
Thirteenth and Fourteenth Amendments when performing actions related to child abuse and
dependency type proceedings (This list is not exhaustive due to the pending nature of discovery
and the privileged and protected records of investigative and juvenile dependency type
proceedings Plaintiff Paddock may seek leave to amend this pleading as more information
becomes available.)

71.County of Canyon, its entities and governmental agencies including individual
Defendants named herein, breached its duties and obligations to Plaintiff Paddock by, but not
limited to, failing to establish, implement and follow the correct and proper Constitutional policies
procedures customs and practices by failing to properly select, supervise, train, contro|, and
review its agents and employees as to their compliance with Constitutional safeguards and by

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deliberately permitting Defendants specifically stated in this action as employees of said
governmental agencies (inc|uding DOES 1 through 50 inclusive) to engage in the unlawful and
unconstitutional conduct as herein alleged with a total indifference to the rights of the affected
parent which is Plaintiff Paddock.

72. County of Canyon knewl or should have known, that by breaching the above-
mentioned duties and obligations that it was reasonably foreseeable that its agency policies
practices customs and usages would, and did, caused Plaintiff Paddock to be injured and
damaged by County of Canyon's wrongful policies or deliberate lack thereof or deliberate
indifference to the need for such policies and/or training, and other acts as alleged herein, and
that such breaches occurred in contravention of public policy and their legal duties and
obligations to Plaintiff Paddock; and that such policies were the moving force behind the violation
of Plaintiff's constitutional rights as alleged herein above. Namely, Plaintiff's civil rights were
violated, as mentioned above, when Defendants employed in governmental agencies in County
of Canyon, including DOES 1 through 50, while acting under color of state law and in
conformance with official County of Canyon policies conspired and/or acted to seize Plaintiff
Paddock's child without a warrant; and then lied about Plaintiff in various reports

73. These actions and/or inactions of County of Canyon are the moving force
behind, and direct and proximate cause of Plaintiff Paddock's injuries as alleged herein; and as a
resu|t, Plaintiff has sustained general and special damages to an extent and in an amount to be
proven at trial. ln addition Plaintiff has incurred and will continue to incur cost and expenses
including those authorized by 42 U.S.C. 1988 to an extent and in an amount subject to proof at
trial.

COMPLA|NT 5

FOR V|OLATION OF STATE ClVlL RlGHTS by Plaintiff Paddock Against Al| Defendants and
DOES 1 Through 50, inclusive

74. Plaintiff realleges, and to the extent applicable, incorporates herein as if set
1 9

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forth in full, each of the foregoing paragraphs

75. Plaintiff is informed and believes and thereon allege that County of Canyon
CPS workers police including Officer Defur and Officer T. Edwards by use of intimidation,
deception, fraud, and coercion (or attempts to threaten, intimidate, deceive, defraudl and coerce),
interfered with Plaintiff Paddock's exercise and enjoyment of the rights secured by the United
States Constitution and other Federal laws the Constitution and laws of the State of ldaho,

76. Plaintiff Paddock is informed and believes and therefore allege that
government searches and seizures are inevitably acts of l‘political violence”that cause fear,
degradation humiliation, and indignity along with its obvious physical impacts including
confinement (See: Doriane Lambelet Coleman, “Storming the Castle to Save the Children: The
ironic Costs of Child Welfare Exception to the Fourth Amendment, 47 Wm. & Mary L. Rev. 413 fn
20 (2005); relied upon for other reasons in Green v. Camreta (9“‘ Cir. 2009) 588 F,3d 1011,
1016.)

77. The rights violated by the public employees mentioned herein, and each of
theml are protected by appropriate idaho Civil Codes which entitle Plaintiff to compensatory and
punitive damages injunctive relief, statutory civil penalty (where applicable) and costs of this
action as provided for by the laws and the Constitution of the State of idaho, and are requested
herein

78. in doing the acts alleged in this Complaint, the Defendants and DOES 1
through 50, and each of them, knew or should have known that their actions would, or were likely
to, injure and damage Plaintiff Paddock. Plaintiff is informed and believes and thereon allege that
the Defendants and DOES 1 through 50, and each of them, intended to cause injury and damage
to Plaintiff Paddock and/or acted with willful and conscious disregard of Plaintiff Paddock's rights

thus entitling Plaintiff to recover punitive damages

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her first visit with her son M.B.'s confinement was nonconsensuall was undertaken without
proper judicial authorization, and without any of the Defendants and DOES 1 through 50
inclusive, being in possession of any evidence that M.B. Was in imminent danger of serious
bodily injury or death at the hands of his mother.

87. As the direct and proximate result of the dereliction of duty of the Defendant
KlDS Services Plaintiff M.B. Has had his familial liberty interests violated, and has suffered, and
will continue to suffer, physical, mental, and emotional injury, all to an extent and in an amount
subject to proof at trial.

CLAiM 9
FOR lNVAS|ON OF PRlVACY Against A|l Defendants and DOES 1 through 50, inclusive

88. Plaintiff Paddock reallege, and to the extent applicabie, incorporates herein
as if set forth in full, each of the foregoing paragraphs

89. Plaintiff Paddock and her son, M.B., have a protected liberty interest in the
privacy and integrity of their family unit, free of unwarranted governmental intrusion

90. County, by and through Defendants CPS workers the police including Officer
Defur and Officer T. Edwards and DOES 1 through 50 inclusive, intruded on the privacy of
Plaintiffs family, by, but not limited to, removing M.B. From the care and custody of his mother,
Plaintiff Paddock, without consent, court decree, or exigent circumstances continuing to detain
M.B. Without basis Each act mentioned above was carried out intentionally, and with full
knowledge of the probable consequences thereof.

91. Said intrusions upon the family home and privacy interests of Plaintiff would b
be highly offensive to any reasonable person, and was in fact, highly offensive to Plaintiff
Paddock.

92. As the direct and proximate result of the County's employees and agents
dereliction of duty, Plaintiff has suffered, and will continue to suffer, physical, mental, and

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emotional injury, all to an extent and in an amount subject to proof at trial. Plaintiff has also
incurred, and will continue to incur, costs and expenses to an extent and in an amount subject to
proof at trial.

93. Plaintiff Paddock is informed and believes that at all times mentioned herein,
Defendants CPS workers the police including Officer Defur and Officer T. Edwards and DOES 1
through 50 inclusive, acted willfully with the wrongful intention of intruding upon Plaintiff Paddock
and for an improper and evil motive amounting to malice in the aforementioned tortious and
criminal conduct was intentionally committed by the above named Defendants that was knowingly
oppressive, malicious and wanton with the intended purpose to cause harm to Plaintiff Paddock.
Therefore, Plaintiff is entitled to an award of punitive damages from CPS workers and the police,
including Officer Defur and OfEcer T. Edwards and to deter them and others from such conduct
in the future.

94. County of Canyon is vicariously responsible for the conduct of its employees
and agents under applicable idaho Government Codes and other applicable statutory and case

law.
CLAlM 10

FOR DECLARATORY REL|EF By Plaintiff Paddock Against County; and DOES 1 through
50, inclusive

95. Plaintiff reallege, and to the extent applicable, incorporate herein as if set
forth in full, each of the foregoing paragraphs

96. As stated herein, Plaintiff, as a citizen and an individual, is protected by the
laws of the State of ldaho, as well as those of the United States Constitution, including the First,
Forth, Sixth, Thirteenth and Fourteenth Amendments thereto.

97. As stated herein, Defendants County of Canyon, and DOES 1 through 50,
inclusive, have wrongfully, unlawfully, and with deliberate indifference to the rights of Plaintiff
Paddock, and with utter disregard of County's duties and obligations to Plaintiff, acted, practiced,

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and/or adopted policies practices procedures and/or customs which are in violation of the rights
of Plaintiff, including those to be free from governmental interference as to their familial
associations and from unreasonable searches and seizures including those relating to child
abuse allegations and related actions and proceedings

98. County of Canyon has failed to acknowledge their improper, unlawful and
unconstitutional actions conduct and policies at the time of the incidents at issue in the present
action and Plaintiff Paddock is informed and believes and on that basis allege, that presently
County of Canyon has not changed or modified such actions conduct and/or policies to conform
to law.

99. County's wrongful and unlawful conduct, actions and/or policies unless and
until enjoined and restrained by order of this court, will cause, and continue to cause, great and
irreparable injury to Plaintiff Paddock and other individuals and citizens in that County of Canyon
will continue to act in accordance with said unlawful policies and with deliberate indifference to
their duties and obligations under state and federal iaw, including those under the First, Fourth
Sixth, Thirteenth and Fourteenth Amendments as alleged herein above.

100.Plaintiff Paddock has been forced from her home, abandoning nearly all that
she owns including the down payment on her home, and the contents of the home and was
forced to quit her job. Paddock fled to Owyhee County, ldaho. As M.B. And A.P. Are still minor
children Plaintiff Paddock lives in fear that the Defendants, in the absence of injunctive relief
could conceivably employ the same policies customs and practices complained of herein to
again detain the minor M.B. Or to kidnap her daughterl A.P., especially if Plaintiff wishes to return
to County of Canyon.

101. Plaintiff Paddock has no adequate remedy at law to prevent or prohibit
County of Canyon from continuing, and/or repeating, its unlawful and unconstitutional conduct
and policies other than through injunctive relief, and therefore seeks an order enjoining and

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prohibiting County of Canyon by, but not limited to the following: a.) the policy of detaining or
removing children from their family and homes without exigent circumstances (imminent danger
of serious bodily injury), court order and/or consent; b.) the policy of removing children from their
family and their homes without first obtaining a warrant when no exigency exists c.) the policy of
examining children without exigency, need, or proper court orderl and without the consent of their
parent or guardian; d.) the policy of removing and detaining children and continuing to detain
them for an unreasonable period after any alleged basis for detention is negated; e.) by acting
with deliberate indifference in implementing a policy of inadequate training and/or supervision
and/or by failing to train and/or supervise its officers agents employees and state actors in
providing the constitutional protections guaranteed to individuals including those under the First,
Fourth, Sixth, Thirteenth, and Fourteenth Amendments when performing actions related to child
abuse and dependency type proceedings

Claim 11

NEGLlGENCE By Plaintiff Paddock Against County; Defendants The Police including
Officer Defur and Officer T. Edwards; and DOES 1 Through 50 inclusive

102. Each of the above stated Defendants owed Plaintiff Paddock the statutory duty;
Before taking a minor into custody, a social worker shall consider whether the child can remain
safely in his or her residence. Defendants the police including Officer Defur and Officer T.
Edwards and Judge Sullivan breached their respective duties of care by, but not limited to, failing
to even consider, as they are required to dol whether M.B. Could remain safely with his mother.
County and Defendants, as stated above, breached their respective duties of care by, but not
limited to, failing to perform any assessment at all, much less the mandatory assessment of the
statutory factors prior to the removal of M.B. From his mother‘s custody.

103. Plaintiff Paddock is informed and believes and thereon alleges that, had the above
mentioned abduction of a child performed by private citizens such an act would have been
criminal and would be considered kidnapping, but would entitle Plaintiff Paddock to bring civil suit
for compensatory and punitive damages

104. As the direct and proximate result of negligent conduct and dereliction of duty of

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Defendants, County, the police including Officer Defur and Officer T. Edwards Plaintiffs have had
their familial liberty interests violated, have suffered, and will continue to suffer, physical, mental
and emotional injury, alito an extent and in an amount subject to proof at trial. Plaintiff Paddock
will also incur costs and expenses to an extent and in an amount subject to proof at trial.

105. County of Canyon is vicariously responsible for the conduct of its employees
agents and officers under idaho Government Codes and other applicable statutory and case law.
JURY DEMAND
Plaintiff Paddock, M.B. And A.P. Demand a jury trial as to all issues so triable.

PRAYER FOR REL|EF

WHEREFORE, Plaintiffs Shalynn Paddock, M.B. And A.P. Prays forjudgment against all ;
Defendants, as to all causes of action as follows 1

1. General damages and special damages according to proof, but in no event less
than $500,000;

2. As against only the individual defendants and not to any municipality, punitive
damages as allowed by law;

3. Costs and expenses as can be claimed by law or statute.

4. injunctive relief, both preliminary and permanent, as allowed by law, (inc|uding
preliminary injunctive relief to be based upon a separate application);

5. Such further relief as the Court deems just and proper.

Shalynn Paddock, pro-se
212 N. 2'“‘ St. E.
Homedale, lD 83628
(208) 230-1384

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CERTIF|CAT|ON OF SERV|CE

l hereby certify that on January , 2018, l filed the forgoing document with the United
States District Court for the District of ldaho. l certify that the following parties will be served'.

Andrew Ballou

Briana Dixon

County of Canyon

idaho department of Hea|th and Welfare CPS
Raychelle Minden

Miranda Squibb

Jasmine Olmedo

Araceli Luna

Caldwell Police Department
Officer T. Edwards

Officer Defur

KlDS Services lnc.

étlwlitw~» Qdd<>lmtz

Shalynn Paddock
pro se Plaintiff

